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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
In re:                                                     Chapter 11

FEDERATION EMPLOYMENT AND                                  Case No. 15-71074 (REG)
GUIDANCE SERVICE, INC. d/b/a FEGS,

                        Debtor.
ROBERT N. MICHAELSON, solely in his                        Adv. Proc. No. 17-08043 (REG)
capacity as CREDITOR TRUSTEE OF THE
FEGS CREDITOR TRUST,

                             Plaintiff,

vs.

ANDREWS INTERNATIONAL, INC.,

                             Defendant.



         ORDER DENYING DEFENDANT ANDREWS INTERNATIONAL, INC.'S
      APPLICATION FOR SUMMARY JUDGMENT DISMISSING THE COMPLAINT

        The Court, having considered Defendant Andrews International, Inc.’s Application for

Summary Judgment Dismissing the Complaint (the “Motion”), and Defendant Andrews

International Inc.’s Statement Pursuant to Local Bankruptcy Rule 7056-1 of the Material Fact is

[sic.] to Which There Are No Genuine Issues to be Tried, and Defendant Andrews International,

Inc.’s Memorandum of Law in Support of Its Motion for Summary Judgment, and the

Declaration of Michael J. Levin in Support of Defendant Andrews International Inc.’s Motion

for Summary Judgment [Dkt. No. 26], and Plaintiff’s Memorandum of Law in Opposition to

Defendant, Andrews International Inc.’s Application for Summary Judgment Dismissing the

Complaint [Dkt. No. 27], and Plaintiff’s Opposition to Defendant’s Statement Pursuant to Local

Bankruptcy Rule 7056-1 of the Material Fact is [sic.] to Which There Are No Genuine Issues to

be Tried; Separate Statement of Material Facts [Dkt. No. 28], and the Declaration of Jeffrey P.


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Nolan in Support of Plaintiff’s Opposition to Defendant, Andrews International Inc. [sic.]

Application for Summary Judgment Dismissing the Complaint [Dkt. No. 29], and the

Declaration of Judith Pincus in Support of Plaintiff’s Opposition to Defendant, Andrews

International Inc. [sic.] Application for Summary Judgment Dismissing the Complaint [Dkt.

No. 30], and the Reply Memorandum of Defendant Andrews International, Inc. in Support of Its

Motion for Summary Judgment [Dkt. No. 33], and the Reply Declaration of Michael J. Levin in

Support of Defendant Andrews International Inc.’s Motion for Summary Judgment [Dkt. No. 34]

and the record of this adversary proceeding, and the record of this chapter 11 case, and the Court

having conducted a hearing on the Motion on October 15, 2018 (the “Hearing”), and counsel of

record for each party having appeared and argued at the hearing, this Court finds for the reasons

set forth on the record for the hearing, that the Motion should be denied in its entirety.

ACCORDINGLY, IT IS HEREBY ORDERED, ADJUDGED AND DECREED, as previously

stated on the record at the Hearing, as follows:

        1.        The Motion is DENIED in its entirety.




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 Dated: Central Islip, New York                                      Robert E. Grossman
        October 25, 2018                                        United States Bankruptcy Judge


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